                                   Case:19-00020-swd                    Doc #:1 Filed: 01/03/19               Page 1 of 88

Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF MICHIGAN

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Kerri
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        Marie
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Griffin
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years FKA Kerri Marie Gunter
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2240
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
                                 Case:19-00020-swd                  Doc #:1 Filed: 01/03/19                Page 2 of 88
Debtor 1   Kerri Marie Griffin                                                                        Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 9760 7 Mile Rd NE
                                 Rockford, MI 49341-8055
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Kent
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                                  Case:19-00020-swd                   Doc #:1 Filed: 01/03/19                  Page 3 of 88
Debtor 1    Kerri Marie Griffin                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          Western District of
                                              District    Michigan                      When     2/08/16                Case number      16-00522-swd
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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Debtor 1    Kerri Marie Griffin                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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Debtor 1    Kerri Marie Griffin                                                                        Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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Debtor 1   Kerri Marie Griffin                                                                             Case number (if known)




For your attorney, if you are    I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one               under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                 for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by    and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need     schedules filed with the petition is incorrect.
to file this page.
                                 /s/ Jeremy B. Shephard                                             Date         January 3, 2019
                                 Signature of Attorney for Debtor                                                MM / DD / YYYY

                                 Jeremy B. Shephard
                                 Printed name

                                 Andersen, Ellis & Shephard
                                 Firm name

                                 866 3 Mile NW
                                 Suite B
                                 Grand Rapids, MI 49544
                                 Number, Street, City, State & ZIP Code

                                 Contact phone     616-784-1700                               Email address         andersenefile@comcast.net
                                 P-72719 MI
                                 Bar number & State




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
Case:19-00020-swd   Doc #:1 Filed: 01/03/19   Page 8 of 88
                                      Case:19-00020-swd                             Doc #:1 Filed: 01/03/19                               Page 9 of 88
 Fill in this information to identify your case:

 Debtor 1                   Kerri Marie Griffin
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  WESTERN DISTRICT OF MICHIGAN

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             154,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $                5,081.54

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             159,081.54

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             126,608.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             110,278.00


                                                                                                                                     Your total liabilities $               236,886.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                2,773.52

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                1,573.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
                                  Case:19-00020-swd                  Doc #:1 Filed: 01/03/19                  Page 10 of 88
 Debtor 1      Kerri Marie Griffin                                                        Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $       1,434.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                 0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            78,686.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                 0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


       9g. Total. Add lines 9a through 9f.                                                           $             78,686.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                                       Case:19-00020-swd                               Doc #:1 Filed: 01/03/19                   Page 11 of 88
 Fill in this information to identify your case and this filing:

 Debtor 1                    Kerri Marie Griffin
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      WESTERN DISTRICT OF MICHIGAN

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        9760 7 Mile Rd NE                                                              Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Rockford                          MI        49341-8055                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $154,000.00                $154,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee Simple
        Kent                                                                           Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Parcel #41-12-19-100-010
                                                                                2 x 2018 SEV = 154,000


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $154,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes



Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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                                  Case:19-00020-swd                       Doc #:1 Filed: 01/03/19                          Page 12 of 88
 Debtor 1       Kerri Marie Griffin                                                                                 Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

      No
      Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $0.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                              Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured
                                                                                                                                                claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Personal possessions, belongings, appliances, furniture,
                                    furnishings, linens, kitchenware, various household tools                                                                $1,500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Computer, ipad; electronic devices including cell phones                                                                   $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Books                                                                                                                      $300.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Everyday clothes, shoes, accessories                                                                                       $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
Official Form 106A/B                                                   Schedule A/B: Property                                                                      page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                                          Case:19-00020-swd                                    Doc #:1 Filed: 01/03/19             Page 13 of 88
 Debtor 1         Kerri Marie Griffin                                                                                         Case number (if known)

        Yes. Describe.....

                                            Everyday jewelry, costume jewelry, wedding ring                                                                             $50.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                            2 domestic cats                                                                                                             $25.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                          $2,575.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Money in
                                                                                                                                 wallet, in
                                                                                                                                 home, on
                                                                                                                                 hand                                     $3.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Individual - 9889                       Fidelity Investments                                                    $0.00



                                              17.2.       Spending - 8236                         Fidelity Investments                                                  $43.50


                                                          Emergency/Saving
                                              17.3.       s - 4251                                Fidelity Investments                                                    $0.19



                                              17.4.       Member - 1747-000                       Frankenmuth Credit Union                                                $5.00


                                                          Kasasa Cash Saver
                                              17.5.       - 1747-061        Frankenmuth Credit Union                                                                      $0.02




Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
                                       Case:19-00020-swd                   Doc #:1 Filed: 01/03/19                     Page 14 of 88
 Debtor 1         Kerri Marie Griffin                                                                             Case number (if known)


                                                   Kasasa Cash Plus -
                                          17.6.    1747-110           Frankenmuth Credit Union                                                        $0.48


                                                   Food Assistance
                                          17.7.    Bridge Card - 2151           EBT                                                                   $0.34


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                     Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                 % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                Institution name:

                                          Roth IRA                              Fidelity Investments                                                  $0.01


                                          Robert Half Intl Inc -                Fidelity Investments
                                          Retirement Account                                                                                          $0.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                              Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...



Official Form 106A/B                                                     Schedule A/B: Property                                                       page 4
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                                  Case:19-00020-swd                    Doc #:1 Filed: 01/03/19               Page 15 of 88
 Debtor 1       Kerri Marie Griffin                                                                    Case number (if known)

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                         Anticipated tax refunds for 2018                    Federal, State                       $1,800.00


                                                         Prorated anticipated tax refunds for 2019
                                                             $1,800 x (3/365)                                Federal, State                             $15.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
        Yes. Give specific information..

                                                      Unpaid wages due but not yet paid                                                             $620.00


                                                      Food Assistance benefits due but not yet paid                                                     $19.00


31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                           Surrender or refund
                                                                                                                                     value:

                                         Medicaid/Priority Health Choice -
                                         Health insurance                                                                                                $0.00


                                         Perrin Inc - Employer sponsored life
                                         insurance                                            Brian Keith Gordon II                                      $0.00


                                         Farm Bureau General Insurance
                                         Company of Michigan - Homeowner's
                                         insurance                                                                                                       $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
Official Form 106A/B                                                 Schedule A/B: Property                                                              page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                                       Case:19-00020-swd                               Doc #:1 Filed: 01/03/19                                  Page 16 of 88
 Debtor 1         Kerri Marie Griffin                                                                                                   Case number (if known)

        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
        Yes. Describe each claim.........

                                                             Possible claim against mortgage company                                                                             $0.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................           $2,506.54


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $154,000.00
 56. Part 2: Total vehicles, line 5                                                                                 $0.00
 57. Part 3: Total personal and household items, line 15                                                        $2,575.00
 58. Part 4: Total financial assets, line 36                                                                    $2,506.54
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                        $5,081.54             Copy personal property total         $5,081.54

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $159,081.54


Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
                                  Case:19-00020-swd                        Doc #:1 Filed: 01/03/19                  Page 17 of 88
 Fill in this information to identify your case:

 Debtor 1                 Kerri Marie Griffin
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF MICHIGAN

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      9760 7 Mile Rd NE Rockford, MI                                 $154,000.00                               $11,825.00      11 U.S.C. § 522(d)(1)
      49341-8055 Kent County
      Parcel #41-12-19-100-010                                                             100% of fair market value, up to
      2 x 2018 SEV = 154,000                                                               any applicable statutory limit
      Line from Schedule A/B: 1.1

      9760 7 Mile Rd NE Rockford, MI                                 $154,000.00                               $10,612.47      11 U.S.C. § 522(d)(5)
      49341-8055 Kent County
      Parcel #41-12-19-100-010                                                             100% of fair market value, up to
      2 x 2018 SEV = 154,000                                                               any applicable statutory limit
      Line from Schedule A/B: 1.1

      Personal possessions, belongings,                                $1,500.00                                 $2,500.00     11 U.S.C. § 522(d)(3)
      appliances, furniture, furnishings,
      linens, kitchenware, various                                                         100% of fair market value, up to
      household tools                                                                      any applicable statutory limit
      Line from Schedule A/B: 6.1

      Computer, ipad; electronic devices                                  $500.00                                $1,000.00     11 U.S.C. § 522(d)(3)
      including cell phones
      Line from Schedule A/B: 7.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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                                  Case:19-00020-swd                       Doc #:1 Filed: 01/03/19                   Page 18 of 88

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Books                                                               $300.00                                   $600.00     11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 8.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Everyday clothes, shoes,                                            $200.00                                   $400.00     11 U.S.C. § 522(d)(3)
     accessories
     Line from Schedule A/B: 11.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Everyday jewelry, costume jewelry,                                   $50.00                                 $1,600.00     11 U.S.C. § 522(d)(4)
     wedding ring
     Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     2 domestic cats                                                      $25.00                                    $25.00     11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Money in wallet, in home, on hand                                      $3.00                                     $3.00    11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Spending - 8236: Fidelity                                            $43.50                                    $43.50     11 U.S.C. § 522(d)(5)
     Investments
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Emergency/Savings - 4251: Fidelity                                     $0.19                                     $0.19    11 U.S.C. § 522(d)(5)
     Investments
     Line from Schedule A/B: 17.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Member - 1747-000: Frankenmuth                                         $5.00                                     $5.00    11 U.S.C. § 522(d)(5)
     Credit Union
     Line from Schedule A/B: 17.4                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kasasa Cash Saver - 1747-061:                                          $0.02                                     $0.02    11 U.S.C. § 522(d)(5)
     Frankenmuth Credit Union
     Line from Schedule A/B: 17.5                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Kasasa Cash Plus - 1747-110:                                           $0.48                                     $0.48    11 U.S.C. § 522(d)(5)
     Frankenmuth Credit Union
     Line from Schedule A/B: 17.6                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Food Assistance Bridge Card - 2151:                                    $0.34                                     $0.34    11 U.S.C. § 522(d)(5)
     EBT
     Line from Schedule A/B: 17.7                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Roth IRA: Fidelity Investments                                         $0.01                                     100%     11 U.S.C. § 522(d)(10)(E),(12)
     Line from Schedule A/B: 21.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 2 of 3
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                                  Case:19-00020-swd                       Doc #:1 Filed: 01/03/19                   Page 19 of 88

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Robert Half Intl Inc - Retirement                                      $0.00                                     100%     11 U.S.C. § 522(d)(10)(E),(12)
     Account: Fidelity Investments
     Line from Schedule A/B: 21.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Federal, State: Anticipated tax                                  $1,800.00                                  $1,800.00     11 U.S.C. § 522(d)(5)
     refunds for 2018
     Line from Schedule A/B: 28.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Federal, State: Prorated anticipated                                 $15.00                                    $15.00     11 U.S.C. § 522(d)(5)
     tax refunds for 2019
     $1,800 x (3/365)                                                                      100% of fair market value, up to
     Line from Schedule A/B: 28.2                                                          any applicable statutory limit

     Unpaid wages due but not yet paid                                   $620.00                                   $620.00     11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 30.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Food Assistance benefits due but not                                 $19.00                                    $19.00     11 U.S.C. § 522(d)(10)(A)
     yet paid
     Line from Schedule A/B: 30.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Perrin Inc - Employer sponsored life                                   $0.00                                     100%     11 U.S.C. § 522(d)(7)
     insurance
     Beneficiary: Brian Keith Gordon II                                                    100% of fair market value, up to
     Line from Schedule A/B: 31.2                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 3 of 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                                     Case:19-00020-swd                      Doc #:1 Filed: 01/03/19                      Page 20 of 88
 Fill in this information to identify your case:

 Debtor 1                   Kerri Marie Griffin
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF MICHIGAN

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Michigan State Housing                   Describe the property that secures the claim:                 $12,142.00              $154,000.00                     $0.00
         Creditor's Name                          9760 7 Mile Rd NE Rockford, MI
         Development Authority                    49341-8055 Kent County
         (MSHDA)                                  Parcel #41-12-19-100-010
         735 East Michigan                        2 x 2018 SEV = 154,000
                                                  As of the date you file, the claim is: Check all that
         Avenue                                   apply.
         Lansing, MI 48912                            Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Second Mortgage
       community debt

 Date debt was incurred          5/2018                    Last 4 digits of account number        NA

 2.2     US Bank Home Mortgage                    Describe the property that secures the claim:               $114,466.00               $154,000.00                     $0.00
         Creditor's Name                          9760 7 Mile Rd NE Rockford, MI
                                                  49341-8055 Kent County
                                                  Parcel #41-12-19-100-010
         co Orlans PC                             2 x 2018 SEV = 154,000
                                                  As of the date you file, the claim is: Check all that
         1650 W Big Beaver Rd                     apply.
         Troy, MI 48084                               Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   First Mortgage
       community debt


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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                                  Case:19-00020-swd                      Doc #:1 Filed: 01/03/19                    Page 21 of 88

 Debtor 1 Kerri Marie Griffin                                                                      Case number (if known)
              First Name                Middle Name                    Last Name


 Date debt was incurred       7/2012                      Last 4 digits of account number   3984


   Add the dollar value of your entries in Column A on this page. Write that number here:                          $126,608.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                         $126,608.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                        On which line in Part 1 did you enter the creditor?   2.2
        MERS
        PO Box 2026                                                                         Last 4 digits of account number
        Flint, MI 48501-2026

        Name, Number, Street, City, State & Zip Code                                        On which line in Part 1 did you enter the creditor?   2.2
        MERS
        1818 Library St Ste 300                                                             Last 4 digits of account number
        Reston, VA 20190

        Name, Number, Street, City, State & Zip Code                                        On which line in Part 1 did you enter the creditor?   2.2
        US Bank
        PO Box 211128                                                                       Last 4 digits of account number
        Eagan, MN 55121-4201

        Name, Number, Street, City, State & Zip Code                                        On which line in Part 1 did you enter the creditor?   2.2
        US Bank Home Mortgage
        4801 Frederica St                                                                   Last 4 digits of account number
        Owensboro, KY 42301




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                             page 2 of 2
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                                      Case:19-00020-swd                       Doc #:1 Filed: 01/03/19                         Page 22 of 88
 Fill in this information to identify your case:

 Debtor 1                     Kerri Marie Griffin
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                WESTERN DISTRICT OF MICHIGAN

 Case number
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Internal Revenue Service                               Last 4 digits of account number       2240                       $0.00              $0.00                 $0.00
              Priority Creditor's Name
              PO Box 7346                                            When was the debt incurred?
              Philadelphia, PA 19101-7346
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Notice Only.

 2.2          Michigan Dept of Treasury                              Last 4 digits of account number       2240                       $0.00              $0.00                 $0.00
              Priority Creditor's Name
              PO Box 30158                                           When was the debt incurred?
              Lansing, MI 48909
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Notice Only.


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 19
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 Debtor 1 Kerri Marie Griffin                                                                              Case number (if known)

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Account Receivable Solutions                              Last 4 digits of account number         2834                                                           $618.00
            Nonpriority Creditor's Name
            PO Box 184                                                When was the debt incurred?             5/2013
            Saint Johns, MI 48879-0184
            Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                           Collection of Independent Bank-Cascade
                                                                                           Grand. Balance from prior dismissed
                 Yes                                                     Other. Specify    bankruptcy.


 4.2        Account Receivable Solutions                              Last 4 digits of account number         6485                                                           $385.00
            Nonpriority Creditor's Name
            PO Box 184                                                When was the debt incurred?             8/2012
            Saint Johns, MI 48879-0184
            Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                   Student loans
            debt                                                         Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                           report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                                                                                           Collection of Emergency Care
                                                                                           Specialists-Blo. Balance from prior
                 Yes                                                     Other. Specify    dismissed bankruptcy.




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 19
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
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 Debtor 1 Kerri Marie Griffin                                                                            Case number (if known)

 4.3      Allied Business Service                                    Last 4 digits of account number       0163                                               $481.00
          Nonpriority Creditor's Name
          400 Allied Ct                                              When was the debt incurred?           10/2017
          Zeeland, MI 49464-2219
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Medical Payment Data.
                                                                                         Balance as of 12/17/2018 report to
              Yes                                                       Other. Specify   Experian.


 4.4      Allied Business Service                                    Last 4 digits of account number       0164                                             $1,907.00
          Nonpriority Creditor's Name
          400 Allied Ct                                              When was the debt incurred?           10/2017
          Zeeland, MI 49464-2219
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Medical Payment Data.
                                                                                         Balance as of 12/17/2018 report to
              Yes                                                       Other. Specify   Experian.


 4.5      Allied Business Service                                    Last 4 digits of account number       9317                                               $173.00
          Nonpriority Creditor's Name
          400 Allied Ct                                              When was the debt incurred?           2/2018
          Zeeland, MI 49464-2219
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Medical Payment Data.
                                                                                         Balance as of 12/17/2018 report to
              Yes                                                       Other. Specify   Experian.




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 Debtor 1 Kerri Marie Griffin                                                                            Case number (if known)

 4.6      Allied Collection Group                                    Last 4 digits of account number       3036                                               $272.00
          Nonpriority Creditor's Name
          PO Box 1799                                                When was the debt incurred?           10/2014
          Holland, MI 49422-1799
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Spectrum Health Hospitals.
              Yes                                                       Other. Specify   Balance from prior dismissed bankruptcy.


 4.7      Allied Collection Group                                    Last 4 digits of account number       8517                                               $216.00
          Nonpriority Creditor's Name
          PO Box 1799                                                When was the debt incurred?           12/2014
          Holland, MI 49422-1799
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Spectrum Health Medical
                                                                                         Group. Balance from prior dismissed
              Yes                                                       Other. Specify   bankruptcy.


 4.8      Allied Collection Group                                    Last 4 digits of account number       1843                                             $1,226.00
          Nonpriority Creditor's Name
          PO Box 1799                                                When was the debt incurred?           1/2013
          Holland, MI 49422-1799
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Spectrum Health Hospitals.
              Yes                                                       Other. Specify   Balance from prior dismissed bankruptcy.




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 Debtor 1 Kerri Marie Griffin                                                                            Case number (if known)

 4.9      Allied Collection Group                                    Last 4 digits of account number       2806                                               $173.00
          Nonpriority Creditor's Name
          PO Box 1799                                                When was the debt incurred?           12/2014
          Holland, MI 49422-1799
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of West Michigan Heart. Balance
              Yes                                                       Other. Specify   from prior dismissed bankruptcy.


 4.1
 0        Allied Interstate                                          Last 4 digits of account number       6387                                               $168.00
          Nonpriority Creditor's Name
          PO Box 361563                                              When was the debt incurred?
          Columbus, OH 43236-1563
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Fifth Third Bank. Balance as
              Yes                                                       Other. Specify   of 9/14/2018 statement.


 4.1
 1        ARS Collections                                            Last 4 digits of account number       7954                                               $254.00
          Nonpriority Creditor's Name
          PO Box 15241                                               When was the debt incurred?
          Lansing, MI 48901
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Emergency Care
                                                                                         Specialists-Blodgett. Balance as of
              Yes                                                       Other. Specify   1/29/2018 statement.




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 Debtor 1 Kerri Marie Griffin                                                                            Case number (if known)

 4.1
 2        Capital One                                                Last 4 digits of account number       2973                                               $215.00
          Nonpriority Creditor's Name
          Bankruptcy Unit                                            When was the debt incurred?           10/2017
          PO Box 71068
          Charlotte, NC 28272-1068
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit card. Balance as of 12/2/2018 report
              Yes                                                       Other. Specify   to Experian.


 4.1
 3        Chase                                                      Last 4 digits of account number       7876                                               $272.00
          Nonpriority Creditor's Name
          PO Box 15145                                               When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit card. Balance as of 5/18/2018
              Yes                                                       Other. Specify   statement.


 4.1
 4        Consumers Energy                                           Last 4 digits of account number       7608                                               $800.00
          Nonpriority Creditor's Name
          Attn Bankruptcy Dept                                       When was the debt incurred?
          3201 E Court St
          Flint, MI 48506
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Shut off on utility. Balance as of 1/2019.




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 Debtor 1 Kerri Marie Griffin                                                                            Case number (if known)

 4.1
 5        Credit Acceptance Corporation                              Last 4 digits of account number       70GC                                             $9,878.00
          Nonpriority Creditor's Name
          co Roosen Varchetti & Olivier                              When was the debt incurred?
          PO Box 2305
          Mount Clemens, MI 48046
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         D17C06070GC
              Yes                                                       Other. Specify   Judgment.


 4.1
 6        Delta Dental Individual                                    Last 4 digits of account number       NA                                                   $33.00
          Nonpriority Creditor's Name
          Product Unit                                               When was the debt incurred?
          PO Box 1596
          Indianapolis, IN 46206
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Insurance premium. Balance as of
              Yes                                                       Other. Specify   12/12/2017 statement.


 4.1
 7        Diversified Consultant                                     Last 4 digits of account number       1300                                               $795.00
          Nonpriority Creditor's Name
          10550 Deerwood Park Blvd                                   When was the debt incurred?           4/2013
          Jacksonville, FL 32256
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Sprint. Balance from prior
              Yes                                                       Other. Specify   dismissed bankruptcy.




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 Debtor 1 Kerri Marie Griffin                                                                            Case number (if known)

 4.1
 8        ERC                                                        Last 4 digits of account number       NA                                                 $471.00
          Nonpriority Creditor's Name
          PO Box 57547                                               When was the debt incurred?           8/2016
          Jacksonville, FL 32241
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of AT T DirecTV. Balance as of
              Yes                                                       Other. Specify   4/2018 report to Experian.


 4.1
 9        General Revenue Corp                                       Last 4 digits of account number       7396                                             $2,569.00
          Nonpriority Creditor's Name
          4660 Duke Dr Ste 300                                       When was the debt incurred?           3/2015
          Mason, OH 45040
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Cornerstone University.
              Yes                                                       Other. Specify   Balance from prior dismissed bankruptcy.


 4.2
 0        Huntington National Bank                                   Last 4 digits of account number       NA                                               $1,800.00
          Nonpriority Creditor's Name
          Attn Bankruptcy NE08                                       When was the debt incurred?
          PO Box 89424
          Cleveland, OH 44101-8539
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Overdraft. Balance from prior dismissed
              Yes                                                       Other. Specify   bankruptcy.




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 Debtor 1 Kerri Marie Griffin                                                                            Case number (if known)

 4.2
 1        Lake Michigan Credit Union                                 Last 4 digits of account number       NA                                               $1,121.00
          Nonpriority Creditor's Name
          PO Box 2848                                                When was the debt incurred?           8/2012
          Grand Rapids, MI 49502
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Unpaid balance reported as loss on a credit
                                                                                         card. Balance as of 7/24/2017 report to
              Yes                                                       Other. Specify   Experian.


 4.2
 2        Lake Michigan Credit Union                                 Last 4 digits of account number       0000                                             $2,437.00
          Nonpriority Creditor's Name
          PO Box 2848                                                When was the debt incurred?           8/2012
          Grand Rapids, MI 49502
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Deficiency balance on an auto loan.
              Yes                                                       Other. Specify   Balance from prior dismissed bankruptcy.


 4.2
 3        Midland Funding LLC                                        Last 4 digits of account number       96GC                                               $652.00
          Nonpriority Creditor's Name
          co Mary Jane M Elliott PC                                  When was the debt incurred?
          24300 Karim Blvd
          Novi, MI 48375
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         D18C03196-GC
              Yes                                                       Other. Specify   Judgment.




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 Debtor 1 Kerri Marie Griffin                                                                            Case number (if known)

 4.2
 4        Money Recovery Nationwide                                  Last 4 digits of account number       2947                                               $484.00
          Nonpriority Creditor's Name
          801 S Waverly Rd Ste 100                                   When was the debt incurred?           2/2013
          PO Box 13129
          Lansing, MI 48901-3129
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Western Michigan Pediatrics
                                                                                         Ca. Balance from prior dismissed
              Yes                                                       Other. Specify   bankruptcy.


 4.2
 5        Portfolio Recovery Assoc                                   Last 4 digits of account number       3388                                               $621.00
          Nonpriority Creditor's Name
          Riverside Commerce Center                                  When was the debt incurred?
          120 Corporate Blvd Ste 100
          Norfolk, VA 23502-4962
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of GE Capital Retail
                                                                                         Bank/Amazon.com. Balance as of 6/27/2018
              Yes                                                       Other. Specify   statement.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 19
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 Debtor 1 Kerri Marie Griffin                                                                            Case number (if known)

 4.2
 6        Portfolio Recovery Assoc                                   Last 4 digits of account number       2479                                               $914.00
          Nonpriority Creditor's Name
          Riverside Commerce Center                                  When was the debt incurred?
          120 Corporate Blvd Ste 100
          Norfolk, VA 23502-4962
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Capital One Bank (USA) NA.
              Yes                                                       Other. Specify   Balance as of 6/27/2018 statement.


 4.2
 7        Portfolio Recovery Assoc                                   Last 4 digits of account number       2479                                             $1,147.00
          Nonpriority Creditor's Name
          Riverside Commerce Center                                  When was the debt incurred?
          120 Corporate Blvd Ste 100
          Norfolk, VA 23502-4962
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Capital One Bank USA NA.
              Yes                                                       Other. Specify   Balance from prior dismissed bankruptcy.


 4.2
 8        RMP Services                                               Last 4 digits of account number       2144                                               $370.00
          Nonpriority Creditor's Name
          8155 Executive Ct Ste 10                                   When was the debt incurred?           11/2017
          Lansing, MI 48917
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Emergency Care
                                                                                         Specialists-Blodge. Balance as of 11/1/2018
              Yes                                                       Other. Specify   report to Experian.




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 Debtor 1 Kerri Marie Griffin                                                                            Case number (if known)

 4.2
 9        RMP Services                                               Last 4 digits of account number       2569                                               $254.00
          Nonpriority Creditor's Name
          8155 Executive Ct Ste 10                                   When was the debt incurred?           12/2017
          Lansing, MI 48917
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collection of Emergency Care
                                                                                         Specialists-Blodge. Balance as of 11/1/2018
              Yes                                                       Other. Specify   report to Experian.


 4.3
 0        Syncb/amazon                                               Last 4 digits of account number       3388                                                   $1.00
          Nonpriority Creditor's Name
          PO Box 965015                                              When was the debt incurred?           12/2013
          Orlando, FL 32896
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Charge account. Possible balance owing
              Yes                                                       Other. Specify   from prior dismissed bankruptcy.


 4.3
 1        US Dept of Ed/GLELSI                                       Last 4 digits of account number       1577                                           $21,208.00
          Nonpriority Creditor's Name
          PO Box 7860                                                When was the debt incurred?           9/2009
          Madison, WI 53707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Education loan. Balance as of 11/30/2018
                                                                                         report to Experian.




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 4.3
 2         US Dept of Ed/GLELSI                                      Last 4 digits of account number         8581                                                   $57,478.00
           Nonpriority Creditor's Name
           PO Box 7860                                               When was the debt incurred?             9/2010
           Madison, WI 53707
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                          Education loan. Balance as of 11/30/2018
                                                                                          report to Experian.
 4.3
 3         Verizon Wireless                                          Last 4 digits of account number         NA                                                         $885.00
           Nonpriority Creditor's Name
           Customer Care Dept                                        When was the debt incurred?             3/2016
           26935 Northwestern Hwy Ste 100
           Southfield, MI 48034
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Telecommunications/cellular. Balance as of
              Yes                                                       Other. Specify    11/30/2018 report to Experian.

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 63-1 District Court                                           Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1950 E Beltline NE                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Rapids, MI 49525
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 63rd District Court                                           Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1950 E Beltline NE                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Rapids, MI 49525
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Account Receivables Solution                                  Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 301 N Clinton Avenue                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Johns, MI 48879
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Allied Collection Group                                       Line 4.6 of (Check one):

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 400 Allied Ct                                                                                              Part 1: Creditors with Priority Unsecured Claims
 Zeeland, MI 49464-2219                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AT&T                                                          Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn Bankruptcy Dept                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 8039
 Charleston, SC 29416
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AT&T Consumer                                                 Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Dept                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 769
 Arlington, TX 76004
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AT&T Mobility                                                 Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5020 Ash Grove Road                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Springfield, IL 62711-6329
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Claims Service                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 30285
 Salt Lake City, UT 84130-0285
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Dept                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 5155
 Norcross, GA 30091
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA N                                        Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 15000 Capital One Dr                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23238
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank USA NA                                       Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 85015                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23285-5015
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase                                                         Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15298                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5298
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase                                                         Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15299                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19850-5299
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chase Bank                                                    Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Mail Code OH1-1272                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 340 S Cleveland Ave Bldg 370
 Westerville, OH 43081
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

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 Client Services                                               Line 4.12 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 3451 Harry S Truman Blvd                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Charles, MO 63301-4047
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Client Services                                               Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1586                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Peters, MO 63376
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comenity Bank                                                 Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Dept                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 182125
 Columbus, OH 43218-2125
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Cornerstone University                                        Line 4.19 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1001 E Beltline Ave NE                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Rapids, MI 49525
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Acceptance Corp                                        Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 25505 W 12 Mile Rd Ste 3000                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Southfield, MI 48034-8339
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Delta Dental                                                  Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 16230 Collection Center Drive                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Chicago, IL 60693
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 DIRECTV Inc                                                   Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 6550                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Greenwood Village, CO 80155-6500
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Dpt Ed/slm                                                    Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 9635                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Wilkes Barre, PA 18773
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Emergency Care Specialists                                    Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 3536                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Rapids, MI 49501
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Fifth Third Bank                                              Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn Ch 13 Joan or Karen                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 1850 E Paris MD R36C1A
 Grand Rapids, MI 49546
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Fifth Third Bank                                              Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Dept                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 1830 East Paris Ave
 Grand Rapids, MI 49546
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Fifth Third Bank                                              Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims

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 co Bankruptcy Dept                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 44148 MS 1-1-COE
 Jacksonville, FL 32231-4148
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GE Capital Retail Bank                                        Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn Bankruptcy Dept                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 103104
 Roswell, GA 30076
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Huntington National Bank                                      Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 40 Pearl Street NW                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Rapids, MI 49503
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 I C System                                                    Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 64437                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Paul, MN 55164-0437
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 I C System                                                    Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 444 Highway 96 East                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 64378
 Saint Paul, MN 55164-0378
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 I C System Inc                                                Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 64378                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Paul, MN 55164
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Independent Bank                                              Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 4200 E Beltline NE                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Rapids, MI 49525
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lake Michigan Credit U                                        Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4027 Lake Dr SE                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Rapids, MI 49546
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Lake Michigan Credit Union                                    Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3809 Lake Eastbrook Blvd S                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Rapids, MI 49546-5931
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Michigan Dept of Treasury                                     Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Treasury Building                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Lansing, MI 48922
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Michigan Dept of Treasury                                     Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Claims Unit                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 30168
 Lansing, MI 48909
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Michigan Dept of Treasury                                     Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims

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 Collection Division                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 30199
 Lansing, MI 48909-7699
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Michigan Dept of Treasury                                     Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Third Party Withholding Unit                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 430 W Allegan St
 Lansing, MI 48922-0001
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Funding                                               Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2365 Northside Dr Ste 300                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 San Diego, CA 92108
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Midland Funding LLC                                           Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 8875 Aero Dr Ste 200                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 San Diego, CA 92123-2251
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Money Recovery Nationw                                        Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 8155 Executive Ct Ste 10                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Lansing, MI 48917
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Slm Financial Corp                                            Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 9500                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Wilkes Barre, PA 18773
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Spectrum Health Hospitals                                     Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 100 Michigan Street NE                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Rapids, MI 49503
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Spectrum Health Medical Group                                 Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2855 Michigan St NE #200                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Rapids, MI 49506
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sprint                                                        Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15955                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Shawnee Mission, KS 66285
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sprint PCS                                                    Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 8077                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 London, KY 40742
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank                                                Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn Bankruptcy Dept                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 965060
 Orlando, FL 32896-5060
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney                                                   Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 330 Ionia NW Ste 501                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims

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 PO Box 208
 Grand Rapids, MI 49501-0208
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Attorney's Office                                          Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Western District of Michigan                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Bankruptcy Section
 PO Box 208
 Grand Rapids, MI 49501-0208
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Us Dep of Ed/glelsi                                           Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2401 International                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Madison, WI 53704
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Department of Education                                    Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Debt Collection Service Center                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 5609
 Greenville, TX 75403-5609
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Department of Education                                    Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Office of General Counsel                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 400 Maryland Ave SW Rm 6E353
 Washington, DC 20202
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Dept of Education                                          Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Educational Credit Management                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 111 Washington Ave S Ste 1400
 Minneapolis, MN 55401-6800
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Verizon North Inc                                             Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Admin                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 404 Brock Drive
 Bloomington, IL 61701
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Verizon Wireless                                              Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 4002                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Acworth, GA 30101
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Verizon Wireless                                              Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 650051                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Dallas, TX 75265
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 West Michigan Heart                                           Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2900 Bradford St NE                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Grand Rapids, MI 49525
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 18 of 19
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
                                  Case:19-00020-swd                         Doc #:1 Filed: 01/03/19                    Page 40 of 88
 Debtor 1 Kerri Marie Griffin                                                                           Case number (if known)

                        6a.   Domestic support obligations                                                6a.      $                     0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.      $                     0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                     0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                78,686.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $                31,592.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              110,278.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 19 of 19
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                                    Case:19-00020-swd                         Doc #:1 Filed: 01/03/19           Page 41 of 88
 Fill in this information to identify your case:

 Debtor 1                  Kerri Marie Griffin
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               WESTERN DISTRICT OF MICHIGAN

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                                     Case:19-00020-swd                          Doc #:1 Filed: 01/03/19       Page 42 of 88
 Fill in this information to identify your case:

 Debtor 1                   Kerri Marie Griffin
                            First Name                            Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name            Last Name


 United States Bankruptcy Court for the:                 WESTERN DISTRICT OF MICHIGAN

 Case number
 (if known)                                                                                                                        Check if this is an
                                                                                                                                   amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                         12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                           Check all schedules that apply:

    3.1                                                                                                    Schedule D, line
                Name
                                                                                                           Schedule E/F, line
                                                                                                           Schedule G, line
                Number             Street
                City                                      State                           ZIP Code




    3.2                                                                                                    Schedule D, line
                Name
                                                                                                           Schedule E/F, line
                                                                                                           Schedule G, line
                Number             Street
                City                                      State                           ZIP Code




Official Form 106H                                                                   Schedule H: Your Codebtors                                 Page 1 of 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                 Case:19-00020-swd             Doc #:1 Filed: 01/03/19                   Page 43 of 88



Fill in this information to identify your case:

Debtor 1                      Kerri Marie Griffin

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF MICHIGAN

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status*
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Machine Operator
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Perrin Inc

       Occupation may include student        Employer's address
                                                                   5320 Rusche Dr NW
       or homemaker, if it applies.
                                                                   Comstock Park, MI 49321

                                             How long employed there?         3 weeks
                                                                              *See Attachment for Additional Employment Information

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $        2,672.84     $               N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$             0.00    +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $      2,672.84           $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
                            Case:19-00020-swd                 Doc #:1 Filed: 01/03/19                      Page 44 of 88


Debtor 1    Kerri Marie Griffin                                                                   Case number (if known)



                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      2,672.84       $             N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        399.32       $               N/A
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $               N/A
      5c.    Voluntary contributions for retirement plans                                  5c.        $          0.00       $               N/A
      5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $               N/A
      5e.    Insurance                                                                     5e.        $          0.00       $               N/A
      5f.    Domestic support obligations                                                  5f.        $          0.00       $               N/A
      5g.    Union dues                                                                    5g.        $          0.00       $               N/A
      5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            399.32       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          2,273.52       $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
      8e. Social Security                                                                  8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:    Food Assistance                                                   8f.  $               90.00   $                   N/A
      8g. Pension or retirement income                                                     8g. $                 0.00   $                   N/A
      8h. Other monthly income. Specify: Cash Tips                                         8h.+ $               60.00 + $                   N/A
             Boyfriend's Monetary Contribution                                                  $              200.00   $                   N/A
             Tax Refunds                                                                        $              150.00   $                   N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            500.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              2,773.52 + $           N/A = $          2,773.52
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $         2,773.52
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: I recently started my full time job. Income above is what I anticipate I will be earning going forward. I
                             had been doing some babysitting which may not continue. Therefore, I have not included that as
                             income above. My food assistance will decrease. What I anticipate I will be receiving going forward
                             is indicated above. My boyfriend is currently in jail and will be home early February. Included in
                             income above is what I anticipate his monthly monetary contribution will be.



Official Form 106I                                                     Schedule I: Your Income                                                     page 2
                          Case:19-00020-swd         Doc #:1 Filed: 01/03/19               Page 45 of 88


Debtor 1   Kerri Marie Griffin                                                     Case number (if known)




                                                 Official Form B 6I
                                 Attachment for Additional Employment Information

Debtor
Occupation              Dishwasher
Name of Employer        Field and Fire Cafe LLC
How long employed       3 1/2 months
Address of Employer     820 Monroe Ave NW Ste 100
                        Grand Rapids, MI 49503




Official Form 106I                                       Schedule I: Your Income                            page 3
                               Case:19-00020-swd                    Doc #:1 Filed: 01/03/19                      Page 46 of 88



Fill in this information to identify your case:

Debtor 1                 Kerri Marie Griffin                                                               Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF MICHIGAN                                               MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           120.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
                            Case:19-00020-swd                      Doc #:1 Filed: 01/03/19                       Page 47 of 88


Debtor 1     Kerri Marie Griffin                                                                       Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 300.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                  60.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                433.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 50.00
10.   Personal care products and services                                                    10. $                                                  35.00
11.   Medical and dental expenses                                                            11. $                                                  45.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 232.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                  43.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  105.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pet Expenses                                                        21. +$                                                 50.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       1,573.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       1,573.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,773.52
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              1,573.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,200.52

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Cost of living.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Case:19-00020-swd   Doc #:1 Filed: 01/03/19   Page 48 of 88
                                   Case:19-00020-swd                       Doc #:1 Filed: 01/03/19                    Page 49 of 88



 Fill in this information to identify your case:

 Debtor 1                  Kerri Marie Griffin
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              WESTERN DISTRICT OF MICHIGAN

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                             $71.75          Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                                  Case:19-00020-swd                        Doc #:1 Filed: 01/03/19                    Page 50 of 88
 Debtor 1      Kerri Marie Griffin                                                                         Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

 For last calendar year:                              Wages, commissions,                       $20,412.53            Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $22,356.00            Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income         Gross income
                                                   Describe below.                  each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 For last calendar year:                           Babysitting                                      $175.00
 (January 1 to December 31, 2018 )


                                                   Child Support                                  $4,644.09

                                                   Cash Tips                                        $164.00

                                                   Monetary Help from                             $3,850.00
                                                   Boyfriend

                                                   Food Assistance                                  $139.00

 For the calendar year before that:                Food Assistance,                                 $800.00
 (January 1 to December 31, 2017 )                 amount is
                                                   approximate

                                                   Unemployment                                   $1,252.00


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.


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 Debtor 1      Kerri Marie Griffin                                                                         Case number (if known)




            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Credit Acceptance Corporation v                           Garnishment                63rd District Court                         Pending
       Kerri Marie Gunter                                                                   1950 E Beltline NE                          On appeal
       D17C06070GC                                                                          Grand Rapids, MI 49525                      Concluded


       Midland Funding LLC v Kerri Marie                         Civil                      63-1 District Court                         Pending
       Griffin                                                                              1950 E Beltline NE                          On appeal
       D18C03196-GC                                                                         Grand Rapids, MI 49525                      Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened



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 Debtor 1      Kerri Marie Griffin                                                                         Case number (if known)



       Creditor Name and Address                                 Describe the Property                                        Date                   Value of the
                                                                                                                                                        property
                                                                 Explain what happened
       Credit Acceptance Corporation                             Wages                                                        10/29/2018,                $191.29
       co Roosen Varchetti & Olivier                                                                                          10/31/2018
       PO Box 2305                                                   Property was repossessed.
       Mount Clemens, MI 48046                                       Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Ada Bible Church                                               Ongoing collection plate contributions                  Monthly                      $43.00
       3869 Knapp St NE
       Grand Rapids, MI 49525


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.




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 Debtor 1      Kerri Marie Griffin                                                                         Case number (if known)



 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Andersen, Ellis & Shephard                                    Attorney Fees                                            7/25/2018,                  $500.00
       866 3 Mile NW                                                                                                          9/28/2018
       Suite B
       Grand Rapids, MI 49544
       andersenefile@comcast.net


       001 Debtorcc Inc                                              Credit counseling                                        12/19/2018                    $14.95
       372 Summit Avenue
       Jersey City, NJ 07306


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Lauren Ashley McLaughlin                                      2000 Saturn SL2 - 173,807                  Value received - $0.00. I       8/29/2018-date
       Cornerstone University                                        miles - fair condition - value             signed this vehicle over        signed over to
       1001 East Beltline NE                                         $500.00.                                   to her so that she could        her,
       Grand Rapids, MI 49525                                                                                   have a vehicle on               1/2/2019-date
                                                                                                                college campus.                 she transferred
       Daughter                                                                                                                                 the title into her
                                                                                                                                                name


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made




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 Debtor 1      Kerri Marie Griffin                                                                          Case number (if known)



 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of             Type of account or        Date account was         Last balance
       Address (Number, Street, City, State and ZIP              account number               instrument                closed, sold,        before closing or
       Code)                                                                                                            moved, or                     transfer
                                                                                                                        transferred
       Chase Bank                                                XXXX-                            Checking              3/2018, exact                     $0.00
       5380 Northland Dr NE                                                                       Savings
                                                                                                                        date unknown
       Grand Rapids, MI 49525
                                                                                                  Money Market
                                                                                                  Brokerage
                                                                                                  Other

       Fifth Third Bank                                          XXXX-                            Checking              9/2018, exact                     $0.00
       5400 Northland Dr NE                                                                       Savings
                                                                                                                        date unknown
       Grand Rapids, MI 49525
                                                                                                  Money Market
                                                                                                  Brokerage
                                                                                                  Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                          have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents            Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                  have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                         Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Thomas John Postma                                            Debtor's Residence                     2009 Chevrolet Cobalt -                 $2,200.00
       9760 7 Mile Rd NE                                             9760 7 Mile Rd NE                      154,000 miles - fair condition
       Rockford, MI 49341-8055                                       Rockford, MI 49341-8055


 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
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 Debtor 1      Kerri Marie Griffin                                                                               Case number (if known)



      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                  Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                      Dates business existed
       Kerri Marie Griffin                                       Babysitting                                          EIN:       NA
       9760 7 Mile Rd NE
       Rockford, MI 49341-8055                                   NA                                                   From-To    11/2018-present




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 Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

 Debtor 1              Kerri Marie Griffin                                                                     According to the calculations required by this
                                                                                                               Statement:
 Debtor 2
                                                                                                                     1. Disposable income is not determined under
 (Spouse, if filing)
                                                                                                                        11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:            Western District of Michigan                                     2. Disposable income is determined under 11
                                                                                                                        U.S.C. § 1325(b)(3).
 Case number
 (if known)
                                                                                                                     3. The commitment period is 3 years.

                                                                                                                     4. The commitment period is 5 years.

                                                                                                                   Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                        Column A                Column B
                                                                                                        Debtor 1                Debtor 2 or
                                                                                                                                non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                            1,054.00       $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                             $             0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                              9.00      $
  5. Net income from operating a business,
     profession, or farm                                                  Debtor 1
        Gross receipts (before all deductions)                       $                   29.00
        Ordinary and necessary operating expenses                    -$                   0.00
        Net monthly income from a business,                                                      Copy
        profession, or farm                                          $                   29.00 here -> $             29.00      $
  6. Net income from rental and other real property                       Debtor 1
        Gross receipts (before all deductions)                              $      0.00
        Ordinary and necessary operating expenses                           -$       0.00
        Net monthly income from rental or other real property               $        0.00 Copy here -> $              0.00      $




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                         page 1
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                                                                                                            Column A                      Column B
                                                                                                            Debtor 1                      Debtor 2 or
                                                                                                                                          non-filing spouse
                                                                                                            $                  0.00       $
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                              $                  0.00       $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                    0.00
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                                 $                  0.00       $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
                  Cash Tips/Monetary Help from Boyfriend                                                    $              319.00         $
                  Food Assistance                                                                           $                23.00        $
                  Total amounts from separate pages, if any.                                           +    $                  0.00       $

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                     $        1,434.00           +   $                  =    $      1,434.00

                                                                                                                                                              Total average
                                                                                                                                                              monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                            $          1,434.00
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 below.
              You are married and your spouse is filing with you. Fill in 0 below.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                                   $
                                                                                                   $
                                                                                                 +$

                     Total                                                                        $                    0.00           Copy here=>         -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                     $          1,434.00

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                      $          1,434.00

                Multiply line 15a by 12 (the number of months in a year).                                                                                     x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................            $         17,208.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                 page 2
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75    administrative fee

        Your debts are primarily consumer debts.                                          +        $15    trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




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             INTERNAL REVENUE SERVICE
             PO BOX 7346
             PHILADELPHIA PA 19101-7346


             MICHIGAN DEPT OF TREASURY
             PO BOX 30158
             LANSING MI 48909


             63-1 DISTRICT COURT
             1950 E BELTLINE NE
             GRAND RAPIDS MI 49525


             63RD DISTRICT COURT
             1950 E BELTLINE NE
             GRAND RAPIDS MI 49525


             ACCOUNT RECEIVABLE SOLUTIONS
             PO BOX 184
             SAINT JOHNS MI 48879-0184


             ACCOUNT RECEIVABLES SOLUTION
             301 N CLINTON AVENUE
             SAINT JOHNS MI 48879


             ALLIED BUSINESS SERVICE
             400 ALLIED CT
             ZEELAND MI 49464-2219


             ALLIED COLLECTION GROUP
             PO BOX 1799
             HOLLAND MI 49422-1799


             ALLIED COLLECTION GROUP
             400 ALLIED CT
             ZEELAND MI 49464-2219


             ALLIED INTERSTATE
             PO BOX 361563
             COLUMBUS OH 43236-1563


             ARS COLLECTIONS
             PO BOX 15241
             LANSING MI 48901
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         AT&T
         ATTN BANKRUPTCY DEPT
         PO BOX 8039
         CHARLESTON SC 29416


         AT&T CONSUMER
         BANKRUPTCY DEPT
         PO BOX 769
         ARLINGTON TX 76004


         AT&T MOBILITY
         5020 ASH GROVE ROAD
         SPRINGFIELD IL 62711-6329


         CAPITAL ONE
         BANKRUPTCY UNIT
         PO BOX 71068
         CHARLOTTE NC 28272-1068


         CAPITAL ONE
         BANKRUPTCY CLAIMS SERVICE
         PO BOX 30285
         SALT LAKE CITY UT 84130-0285


         CAPITAL ONE
         BANKRUPTCY DEPT
         PO BOX 5155
         NORCROSS GA 30091


         CAPITAL ONE BANK USA N
         15000 CAPITAL ONE DR
         RICHMOND VA 23238


         CAPITAL ONE BANK USA NA
         PO BOX 85015
         RICHMOND VA 23285-5015


         CHASE
         PO BOX 15145
         WILMINGTON DE 19850


         CHASE
         PO BOX 15298
         WILMINGTON DE 19850-5298
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         CHASE
         PO BOX 15299
         WILMINGTON DE 19850-5299


         CHASE BANK
         MAIL CODE OH1-1272
         340 S CLEVELAND AVE BLDG 370
         WESTERVILLE OH 43081


         CLIENT SERVICES
         3451 HARRY S TRUMAN BLVD
         SAINT CHARLES MO 63301-4047


         CLIENT SERVICES
         PO BOX 1586
         SAINT PETERS MO 63376


         COMENITY BANK
         BANKRUPTCY DEPT
         PO BOX 182125
         COLUMBUS OH 43218-2125


         CONSUMERS ENERGY
         ATTN BANKRUPTCY DEPT
         3201 E COURT ST
         FLINT MI 48506


         CORNERSTONE UNIVERSITY
         1001 E BELTLINE AVE NE
         GRAND RAPIDS MI 49525


         CREDIT ACCEPTANCE CORP
         25505 W 12 MILE RD STE 3000
         SOUTHFIELD MI 48034-8339


         CREDIT ACCEPTANCE CORPORATION
         CO ROOSEN VARCHETTI & OLIVIER
         PO BOX 2305
         MOUNT CLEMENS MI 48046


         DELTA DENTAL
         16230 COLLECTION CENTER DRIVE
         CHICAGO IL 60693
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         DELTA DENTAL INDIVIDUAL
         PRODUCT UNIT
         PO BOX 1596
         INDIANAPOLIS IN 46206


         DIRECTV INC
         PO BOX 6550
         GREENWOOD VILLAGE CO 80155-6500


         DIVERSIFIED CONSULTANT
         10550 DEERWOOD PARK BLVD
         JACKSONVILLE FL 32256


         DPT ED/SLM
         PO BOX 9635
         WILKES BARRE PA 18773


         EMERGENCY CARE SPECIALISTS
         PO BOX 3536
         GRAND RAPIDS MI 49501


         ERC
         PO BOX 57547
         JACKSONVILLE FL 32241


         FIFTH THIRD BANK
         ATTN CH 13 JOAN OR KAREN
         1850 E PARIS MD R36C1A
         GRAND RAPIDS MI 49546


         FIFTH THIRD BANK
         CO BANKRUPTCY DEPT
         PO BOX 44148 MS 1-1-COE
         JACKSONVILLE FL 32231-4148


         FIFTH THIRD BANK
         BANKRUPTCY DEPT
         1830 EAST PARIS AVE
         GRAND RAPIDS MI 49546


         GE CAPITAL RETAIL BANK
         ATTN BANKRUPTCY DEPT
         PO BOX 103104
         ROSWELL GA 30076
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         GENERAL REVENUE CORP
         4660 DUKE DR STE 300
         MASON OH 45040


         HUNTINGTON NATIONAL BANK
         ATTN BANKRUPTCY NE08
         PO BOX 89424
         CLEVELAND OH 44101-8539


         HUNTINGTON NATIONAL BANK
         40 PEARL STREET NW
         GRAND RAPIDS MI 49503


         I C SYSTEM
         PO BOX 64437
         SAINT PAUL MN 55164-0437


         I C SYSTEM
         444 HIGHWAY 96 EAST
         PO BOX 64378
         SAINT PAUL MN 55164-0378


         I C SYSTEM INC
         PO BOX 64378
         SAINT PAUL MN 55164


         INDEPENDENT BANK
         4200 E BELTLINE NE
         GRAND RAPIDS MI 49525


         LAKE MICHIGAN CREDIT U
         4027 LAKE DR SE
         GRAND RAPIDS MI 49546


         LAKE MICHIGAN CREDIT UNION
         PO BOX 2848
         GRAND RAPIDS MI 49502


         LAKE MICHIGAN CREDIT UNION
         3809 LAKE EASTBROOK BLVD S
         GRAND RAPIDS MI 49546-5931


         MERS
         PO BOX 2026
         FLINT MI 48501-2026
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         MERS
         1818 LIBRARY ST STE 300
         RESTON VA 20190


         MICHIGAN DEPT OF TREASURY
         TREASURY BUILDING
         LANSING MI 48922


         MICHIGAN DEPT OF TREASURY
         THIRD PARTY WITHHOLDING UNIT
         430 W ALLEGAN ST
         LANSING MI 48922-0001


         MICHIGAN DEPT OF TREASURY
         COLLECTION DIVISION
         PO BOX 30199
         LANSING MI 48909-7699


         MICHIGAN DEPT OF TREASURY
         BANKRUPTCY CLAIMS UNIT
         PO BOX 30168
         LANSING MI 48909


         MICHIGAN STATE HOUSING
         DEVELOPMENT AUTHORITY (MSHDA)
         735 EAST MICHIGAN AVENUE
         LANSING MI 48912


         MIDLAND FUNDING
         2365 NORTHSIDE DR STE 300
         SAN DIEGO CA 92108


         MIDLAND FUNDING LLC
         CO MARY JANE M ELLIOTT PC
         24300 KARIM BLVD
         NOVI MI 48375


         MIDLAND FUNDING LLC
         8875 AERO DR STE 200
         SAN DIEGO CA 92123-2251


         MONEY RECOVERY NATIONW
         8155 EXECUTIVE CT STE 10
         LANSING MI 48917
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         MONEY RECOVERY NATIONWIDE
         801 S WAVERLY RD STE 100
         PO BOX 13129
         LANSING MI 48901-3129


         PORTFOLIO RECOVERY ASSOC
         RIVERSIDE COMMERCE CENTER
         120 CORPORATE BLVD STE 100
         NORFOLK VA 23502-4962


         RMP SERVICES
         8155 EXECUTIVE CT STE 10
         LANSING MI 48917


         SLM FINANCIAL CORP
         PO BOX 9500
         WILKES BARRE PA 18773


         SPECTRUM HEALTH HOSPITALS
         100 MICHIGAN STREET NE
         GRAND RAPIDS MI 49503


         SPECTRUM HEALTH MEDICAL GROUP
         2855 MICHIGAN ST NE #200
         GRAND RAPIDS MI 49506


         SPRINT
         PO BOX 15955
         SHAWNEE MISSION KS 66285


         SPRINT PCS
         PO BOX 8077
         LONDON KY 40742


         SYNCB/AMAZON
         PO BOX 965015
         ORLANDO FL 32896


         SYNCHRONY BANK
         ATTN BANKRUPTCY DEPT
         PO BOX 965060
         ORLANDO FL 32896-5060
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         US ATTORNEY
         330 IONIA NW STE 501
         PO BOX 208
         GRAND RAPIDS MI 49501-0208


         US ATTORNEY'S OFFICE
         WESTERN DISTRICT OF MICHIGAN
         BANKRUPTCY SECTION
         PO BOX 208
         GRAND RAPIDS MI 49501-0208


         US BANK
         PO BOX 211128
         EAGAN MN 55121-4201


         US BANK HOME MORTGAGE
         CO ORLANS PC
         1650 W BIG BEAVER RD
         TROY MI 48084


         US BANK HOME MORTGAGE
         4801 FREDERICA ST
         OWENSBORO KY 42301


         US DEP OF ED/GLELSI
         2401 INTERNATIONAL
         MADISON WI 53704


         US DEPARTMENT OF EDUCATION
         DEBT COLLECTION SERVICE CENTER
         PO BOX 5609
         GREENVILLE TX 75403-5609


         US DEPARTMENT OF EDUCATION
         OFFICE OF GENERAL COUNSEL
         400 MARYLAND AVE SW RM 6E353
         WASHINGTON DC 20202


         US DEPT OF ED/GLELSI
         PO BOX 7860
         MADISON WI 53707


         US DEPT OF EDUCATION
         EDUCATIONAL CREDIT MANAGEMENT
         111 WASHINGTON AVE S STE 1400
         MINNEAPOLIS MN 55401-6800
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         VERIZON NORTH INC
         BANKRUPTCY ADMIN
         404 BROCK DRIVE
         BLOOMINGTON IL 61701


         VERIZON WIRELESS
         CUSTOMER CARE DEPT
         26935 NORTHWESTERN HWY STE 100
         SOUTHFIELD MI 48034


         VERIZON WIRELESS
         PO BOX 4002
         ACWORTH GA 30101


         VERIZON WIRELESS
         PO BOX 650051
         DALLAS TX 75265


         WEST MICHIGAN HEART
         2900 BRADFORD ST NE
         GRAND RAPIDS MI 49525
